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U.S. Department of Justice
United States Attorney
Eastern District of Louisiana

 

 

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May 20, 2019

Honorable Carl J. Barbier
United States District Judge
Eastern District of Louisiana
500 Poydras Street, Room C256
New Orleans, Louisiana 70130

Re: United States v. Raylaine Knope
Criminal Docket No.: 18-160 “J”

Dear Judge Barbier:

In compliance with the holding of Bryan v. United States, 492 F.2d 775 (Sth Cir. 1974),
and with Rule 11 of the Federal Rules of Criminal Procedure, the Government wishes to
acknowledge the following agreement between the Government and Raylaine Knope, the
defendant, in the above-captioned proceeding. Defendant’s undersigned counsel, Steven Lemoine,
Esq., has reviewed the terms of this agreement and has been advised by the defendant that the
defendant fully understands the terms of this agreement.

The Government will allow the defendant, Raylaine Knope, to plead guilty to a three-count
Superseding Bill of Information. Count One charges the defendant with Conspiracy, in violation
of Title 18, United States Code, Section 371, for conspiring to commit a violation of Title 18,
United States Code, Section 1589 (forced labor). Count Two charges the defendant with Forced
Labor, in violation of Title 18, United States Code, Section 1589. Count Three charges the
defendant with Misprision of a Felony, in violation of Title 18, United States Code, Section 4.
These charges arise out of the abuse of victim D.P. between August 2015 and June 2016 in Amite,
Louisiana. The Government has agreed that, should the Court accept the defendant’s guilty plea
to the Superseding Bill of Information, the Government will request the Court to dismiss, at the
time of sentencing, Counts 1, 2, 3, and 4 of the pending Indictment against the defendant. The
Government further agrees that it will not bring any other criminal charges in the Eastern District
of Louisiana arising from the defendant’s involvement in the abuse of victim D.P. in Amite,
Louisiana, and from the use and manufacture of methamphetamine in Amite, Louisiana, so long
as the defendant has truthfully informed law enforcement officials of the full and complete details
of those crimes prior to her guilty plea in this case. The defendant understands that this does not

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apply to felony crimes of violence that she may have committed that she has not yet disclosed to
the Government. The Government further agrees to request the transfer of primary jurisdiction
over the defendant from the State of Louisiana to the Federal Government. The defendant
understands that the Government cannot guarantee that this request will be granted.

The defendant further understands that the maximum penalties she may receive should her
guilty plea be accepted is:

(a) For Count One (18 U.S.C. § 371): five (5) years imprisonment, a fine of $250,000,
three (3) years supervised release, and such restitution as may be ordered by the Court;

(b) For Count Two (18 U.S.C. § 1589): twenty (20) years imprisonment, a fine of
$250,000, three (3) years supervised release, and such restitution as may be ordered by
the Court; and

(c) For Count Three (18 U.S.C. § 4): three (3) years imprisonment, a fine of $250,000, one
(1) year supervised release, and such restitution as may be ordered by the Court.

Pursuant to Rule 11(c)(1)(B) of the Federal Rules of Criminal Procedure, the parties enter
this agreement with the understanding that, at sentencing, the parties will jointly recommend to
the Court that all counts of conviction run consecutive to each other for a sentence of not less than
twenty-eight (28) years, to run concurrently with any sentence imposed on the defendant by the
Twenty-First Judicial Court for the Parish of Tangipahoa, State of Louisiana, in case number
1602073. The parties agree to jointly recommend a sentence of not less than twenty-eight (28)
years even if this sentence is higher than the defendant’s final Guidelines range as calculated by
the Court, and the defendant agrees that a twenty-eight year sentence is appropriate under 18
U.S.C. § 3553. The parties acknowledge that the following state charges are pending against the
defendant in the Twenty-First Judicial District Court for the Parish of Tangipahoa, State of
Louisiana, in case number 1602073: one count of Human Trafficking (LA R.S. 14:46.2); one count
of Cruelty to the Infirm (LA R.S. 14:93.3); one count of Exploitation of the Infirm (LA R.S.
14:93.4); one count of Promoting Prostitution (LA R.S. 14:83.2); one count of Second Degree
Kidnapping (LA R.S. 14:44.1); and one count of Contributing to the Delinquency of Juveniles (LA
R.S. 14:92.A(11)(a)). The parties further acknowledge that the Tangipahoa Parish District
Attorney’s Office (TPDAO) has stated its intent to resolve these pending state charges through a
plea agreement with the defendant and to recommend a sentence of no more than thirty-three years’
imprisonment, to be served concurrently with any sentence imposed on the defendant for the
federal charges pending against her. Regardless, the defendant understands and has discussed with
her attorney that the United States is not a party to the defendant’s agreement with the TPDAO,
and has no authority of any kind to enforce any such agreement. The defendant understands that
failure by the TPDAO to honor its agreement will mot be grounds for invalidation of this
agreement.

It is understood that the Court may require the defendant to pay restitution in this matter in
accordance with applicable law. The defendant further understands that she is liable to make
restitution for the full amount of the loss determined by the Court to constitute relevant conduct,
which is not limited to the counts of conviction. To the extent possible by law, all restitution paid
to the victim in this case shall be made pursuant to the Trafficking Victim Protection Act and the
restitution will be paid pursuant to 18 U.S.C. § 1593. The defendant agrees that any restitution
will be non-dischargeable in any bankruptcy proceeding and that defendant will not seek or cause
to be sought a discharge or a finding of dischargeability of any restitution obligation. The

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defendant further acknowledges and understands that, notwithstanding any payment schedule
imposed at sentencing or during probation or supervised release, restitution is due and payable in
full immediately upon entry of the judgment of conviction.

Further, the defendant understands that a mandatory special assessment fee of $100.00 for
each count of conviction shall be imposed under the provisions of Section 3013 of Title 18, United
States Code. This special assessment must be paid on the date of sentencing. Failure to pay this
special assessment may result in the plea agreement being voided.

The defendant further understands that the Court, in imposing a sentence of a term of
imprisonment, may include as part of the sentence a requirement that the defendant be placed on
a term of supervised release pursuant to Title 18, United States Code, Section 3583. Supervised
release is a period following release from prison during which defendant’s conduct will be
monitored by the Court or the Court’s designee. Defendant fully understands that if defendant
violates any of the conditions of supervised release that the Court has imposed, defendant’s
supervised release may be revoked and defendant may be ordered by the Court to serve in prison
all or part of the term of supervised release.

Defendant understands that Title 18, United States Code, Section 3742 and Title 28, United
States Code, Section 1291, may give a criminal defendant the right to appeal her conviction,
sentence, restitution, fine, and judgment imposed by the Court. Defendant also understands that
she may have the right to file collateral challenges to her conviction and sentence, and judgment,
including but not limited to rights provided by Title 28, United States Code, Sections 2255 and
2241, Rule 60 of the Federal Rules of Civil Procedure, Rule 36 of the Federal Rules of Criminal
Procedure, and writs of coram nobis and audita querela. Defendant further understands that Title
18, United States Code, Section 3582(c)(2), may allow the Court to grant a sentencing reduction
to the defendant if the defendant has been sentenced to a term of imprisonment based upon a
sentencing range that has been subsequently lowered by the United States Sentencing Commission
and determined to apply retroactively to defendants who already have been sentenced to a term of
imprisonment.

Acknowledging these rights, subject only to the exceptions indicated in subsection (d)
below, the defendant, in exchange for the promise(s) and agreement(s) made by the United States
in this plea agreement, knowingly and voluntarily:

a. Waives and gives up any right to appeal or contest her guilty plea, conviction,
sentence, fine, supervised release, and any restitution imposed by any judge under any applicable
restitution statute, including but not limited to any right to appeal any rulings on pretrial motions

of any kind whatsoever, as well as any aspect of her sentence, including but not limited to any and
all rights that arise under Title 18, United States Code, Section 3742 and Title 28, United States
Code, Section 1291; .

b. Waives and gives up any right to appeal any order, decision, or judgment arising
out of or related to Title 18, United States Code, Section 3582(c)(2) imposed by any judge and
further waives and gives up any right to challenge the manner in which her sentence was
determined and to challenge any United States Sentencing Guidelines determinations and their
application by any judge to the defendant’s sentence and judgment;

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c. Waives and gives up any right to challenge her sentence collaterally, including but
not limited to any and all rights that arise under Title 28, United States Code, Sections 2255 and
2241, Rule 60 of the Federal Rules of Civil Procedure, Rule 36 of the Federal Rules of Criminal
Procedure, writs of coram nobis and audita querela, and any other collateral challenges to her
sentence of any kind; and

d. The defendant specifically does not waive, and retains the right to bring a direct
appeal of, any sentence imposed in excess of the statutory maximum. The defendant also retains
the right to raise a claim of ineffective assistance of counsel in an appropriate proceeding.

The defendant understands and acknowledges that her knowing and voluntary waiver of
the right to appeal or collaterally attack her conviction and sentence includes waiving the right to
raise on appeal or on collateral review any argument that (1) any statute to which the defendant is
pleading guilty is unconstitutional and (2) the admitted conduct does not fall within the scope of
the statute.

The defendant understands that any discussions with defendant’s attorney or anyone else
regarding sentencing guidelines are merely rough estimates, and the Court is not bound by those
discussions. The defendant understands that the sentencing guidelines are advisory and not
mandatory for sentencing purposes. The defendant understands that the Court could impose (and,
in fact, that the parties are jointly recommending) the maximum term of imprisonment and fine
allowed by law for the charges in the Superseding Bill of Information, including the imposition of
supervised release. The defendant is also aware that in determining a fair and just sentence, the
Court has the authority and discretion, pursuant to Title 18, United States Code, Sections 3553 and
3661 and the United States Sentencing Guidelines, to consider any and all “relevant conduct” that
the defendant was involved in, the nature and circumstances of the offenses, and the history and
characteristics of the defendant.

In an effort to resolve this matter in a timely fashion and show good faith, the defendant
agrees to knowingly, voluntarily, and expressly waive her rights pursuant to Rule 410(a) of the
Federal Rules of Evidence upon signing this plea agreement and the factual basis. The defendant
understands and agrees that if she violates the plea agreement, if she withdraws her decision to
plead guilty, or if her guilty plea is later withdrawn or otherwise set aside, any statements she has
made to law enforcement agents or an attorney for the prosecuting authority during plea
discussions, any statements she has made during any court proceeding involving her plea of guilty
(including any factual bases or summaries signed by the defendant), and any leads from such
statements, factual bases or summaries, shall be admissible for all purposes against the defendant
in any and all criminal proceedings.

The defendant agrees to forfeit to the United States any right, title, and interest in all assets
subject to forfeiture under the notice(s) of forfeiture contained in the charging document, including
property specified in any bill of particulars and property previously seized by the Government for
administrative, civil, or criminal forfeiture. The defendant further consents to the filing of a motion
for a preliminary order forfeiting such property and any dollar amount specified in the notice(s) of
forfeiture or bill of particulars, and the defendant confesses the requisite nexus between the
property and the charge(s) of conviction. The defendant hereby withdraws any petition for
remission or claim for such property and further waives any right to contest or appeal the
Government’s forfeiture proceedings for any reason, including on grounds that the forfeiture

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constitutes an unconstitutionally excessive fine or punishment, and in any manner, including by
claim, petition, appeal, or collateral attack. The defendant further agrees to submit to interviews
whenever and wherever requested by law enforcement authorities regarding all assets currently or
previously within her possession or any assets transferred or sold to or deposited with any third
party as outlined within the preceding paragraph. It is also understood that defendant will provide
any and all financial information and documentation requested by the Government, agrees to
voluntarily execute a complete and thorough Financial Statement of Debtor, and further agrees to
provide the requested List of Items that is attached to the Financial Statement. The defendant
understands this information may be provided to a representative of any victim of this offense.

The defendant recognizes that any criminal monetary penalty, whether special assessment,
criminal fine, or restitution, that is owed as a result of her conviction will be immediately submitted
to the Treasury Offset Program. The defendant waives any objection to her inclusion in the
Treasury Offset Program.

The defendant acknowledges that she wishes to enter this plea agreement because she is in
fact guilty of the charged crimes and that victim D.P. was harmed as a result of her criminal acts.

The defendant understands that the statements set forth above and in the attached SEALED
document (Attachment “A”) represent defendant’s entire agreement with the Government; there
are not any other agreements, letters, or notations that will affect this agreement.

Very truly yours,

PETER G. STRASSER
UNITED STATES ATTORNEY

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JULMA K. EVANS
Assistant United States Attorney

KAS Fe Negns—

RISA BERKOWER

NICHOLAS REDDICK

Trial Attorneys

Civil Rights Division, Criminal Section
U.S. Department of Justice

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RAYLAINE KNOPE (Date)

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eS LEMOINE, ESQ. (Date)
Counsel for Defendant

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